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Brian S. Healy, State Bar No. 112371
TIERNEY, WATSON & HEALY

A Professional Corporation

351 California Street, Suite 600

San Francisco, CA 94104

Phone: (415) 974-1900

Fax: (415) 974-6433

Email: brian@tw2law.com

Attorney for Judgment Creditor
Crystal Lei

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

DEMAS YAN, Case No.: 11-CV-1814-RS (SC)

Appellant,
VS. DECLARATION OF BRIAN S. HEALY
FOLLOWING HEARING ON
JUDGMENT CREDITOR CRYSTAL
LEI’S MOTION FOR FURTHER CIVIL

CONTEMPT AND SANCTIONS ON
JUDGMENT DEBTOR DEMAS YAN

CRYSTAL LEI et al.,

Appellees.

Judge: Hon. Jacqueline Scott Corley
Hearing Date: April 4, 2019

Time: 2:00

Place: Court Rm. F, 15 Floor

450 Golden Gate Ave. S.F.

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DECLARATION OF BRIAN S. HEALY RE MOTION FOR FURTHER CONTEMPT
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I, Brian S. Healy, declare:

1. Iam an attorney duly licensed to practice law by the State of California and am authorized to

practice law throughout the State of California. I am familiar with the matter stated in this

declaration from my own personal knowledge, were I called to testify, I would be competent to

and would do so.

2. Iam the attorney for judgment creditor, Crystal Lei (“Lei”).

3. During the hearing on April 4, 2019, the court requested that the judgment creditor file a true

and correct copy of the IRS form required to obtain copies of tax returns directly from the

Internal Revenue Service. A true and correct copy of said form is attached hereto as Exhibit A.
I declare under penalty of perjury under the laws of the State of California that the above

is true and correct and that this declaration is executed at San Francisco, California, this 9th day

of April 2019.

 

DECLARATION OF BRIAN S. HEALY RE MOTION FOR FURTHER CONTEMPT
Case No. 3:11-cv-01814-RS (JSC)

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-om 4506 Request for Copy of Tax Return

(March 2019} > Do not sign this form unless all applicable lines have been completed. OMB No, 1545-0429
» Request may be rejected if the form is incomplete or illegible.

Department of the Treasury . . oe .

Internal Revenue Service > For more information about Form 4506, visit www.irs.gov/form4506.

 

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4506-T, Request for Transcript of Tax Return, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on “Get a Tax Transcript...” or call 1-800-908-9946,

 

da Name shown on tax return. {f a joint return, enter the name shown first. 1b First social security number on tax return,
individual taxpayer identification number, or

employer identification number (see instructions)
Demas W. Yan

 

2a |f a joint return, enter spouse's name shown on tax return. 2b Sacond social security number or individual
taxpayer identification number if joint tax return

Mei Fang

 

 

 

3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)
1433 7th Avenue, San Francisco, CA, 94122

 

4 Previous address shown on the last return filed if different from line 3 (see instructions)

 

5 if the tax return is to be mailed to a third party (such as a mortgage company), enter the third party's name, address, and telephone number.
Brian S. Healy, 351 California St, Ste 600, San Francisco, CA 94104

 

Caution: If the tax return is being mailed to a third party, ensure that you have filled in lines 6 and 7 before signing. Sign and date the form once you
have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your return
information, you can specify this limitation in your written agreement with the third party.

 

 

6 Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
type of return, you must complete another Form 4506. > Form 1040

Note: If the copies must be certified for court or administrative proceedings, check here. . 6 - ee ee ee

 

7 Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
eight years or periods, you must attach another Form 4506.

12/31/2014 12/31/2015 12/31/2016 - 12/31/2017

12/31/2018

 

8 Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
or EIN and “Form 4506 request” on your check or money order.

a Costforeachreturn . . 0. 0. ee $
b Number of returns requested on line 7 . .
c Totalcost. Multiplyline8abyline8b 2. 1. ka $
9 If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here. . . « «
Caution: Do not sign this form unless all applicable lines have been completed.

Signature of taxpayer(s). | declare that | am aither the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested, If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, | certify that | have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.

Signatory attests that he/she has read the attestation clause and upon so reading

 

 

declares that he/she has the authority to sign the Form 4506. See instructions. Phone number of taxpayer on line
aor
Sign Signature (see instructions) Date
Here

 

» Title (if line 1a above is a corporation, partnership, estate, or trust)

|

» Spouse's signature Date

 

For Privacy Act and Paperwork Reduction Act Notice, see page 2. Cat. No. 41721E Form 4506 (Rev. 3-2019)
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Form 4506 (Rev. 3-2019)

Section references are to the Internal Revenue Code
unless otherwise noted.

Future Developments

For the latest information about Form 4506 and its
instructions, go to www.irs.gov/form4506.
Information about any recent developments affecting
Form 4506, Form 4506-T and Form 4506T-EZ will be
posted on that page.

General Instructions

Caution: Do not sign this form unless all applicable
lines have been completed.

Purpose of form. Use Form 4506 to request a copy
of your tax return. You can also designate (on line 5)
a third party to receive the tax return.

How long will it take? it may take up to 75
calendar days for us to process your request.

Tip. Use Form 4506-T, Request for Transcript of Tax
Return, to request tax return transcripts, tax account
information, W-2 information, 1099 information,
verification of nonfiling, and records of account.

Automated transcript request. You can quickly
request transcripts by using our automated self-help
service tools. Please visit us at IRS.gov and click on
“Get a Tax Transcript..." or call 1-800-908-9946.

Where to file. Attach payment and mail Form 4506
to the address below for the state you lived in, or the
state your business was in, when that return was
filed. There are two address charts: one for
individual returns (Form 1040 series) and one for all
other returns.

If you are requesting a return for more than one
year or period and the chart below shows two
different addresses, send your request to the
address based on the address of your most recent
return.

Chart for individual returns
(Form 1040 series)
If you filed an

individual return
and lived in:

Mail to:

 

Alabama, Kentucky,
Louisiana, Mississippi,
Tennessee, Texas, a

Chart for all other returns

If you lived in
or your business
was in:

Mail to:

 

Alabama, Alaska,
Arizona, Arkansas,
California, Colorado,
Connecticut, Delaware,
District of Columbia,
Florida, Georgia, Hawaii,
Idaho, Illinois, Indiana,
lowa, Kansas, Kentucky,
Louisiana, Maine,
Maryland,
Massachusetts,
Michigan, Minnesota,
Mississippi,

Missouri, Montana,
Nebraska, Nevada, New
Hampshire, New Jersey,
New Mexico, New York,
North Carolina,

North Dakota, Ohio,
Oklahoma, Oregon,
Pennsylvania, Rhode

Internal Revenue Service
RAIVS Team

P.O. Box 9941

Mail Stop 6734

Ogden, UT 84409

foreign country, American
Samoa, Puerto Rico,
Guam, the
Commonwealth of the
Northem Mariana Islands,
the U.S, Virgin Islands, or
A.P.O. or F.P.O. address

Internal Revenue Service
RAIVS Team

Stop 6716 AUSC
Austin, TX 73301

 

Alaska, Arizona,
Arkansas, California,
Colorado, Hawaii, Idaho,
Illinois, Indiana, lowa,
Kansas, Michigan,
Minnesota, Montana,
Nebraska, Nevada, New
Mexico, North Dakota,
Oklahoma, Oregon,
South Dakota, Utah,
Washington, Wisconsin,
Wyoming

internal Revenue Service
RAIVS Team

Stop 37106

Fresno, CA 93888

 

Connecticut,

Delaware, District of
Columbia, Florida,
Georgia, Maine,
Maryland,
Massachusetts,
Missouri, New
Hampshire, New Jersey,
New York, North
Carolina, Ohio,
Pennsylvania, Rhode
Island, South Carolina,
Vermont, Virginia, West
Virginia

Internal Revenue Service
RAIVS Team

Stop 6705 S-2

Kansas City, MO

64999

 

tsland, South Carolina,
South Dakota,
Tennessee, Texas, Utah,
Vermont, Virginia,
Washington, West
Virginia, Wisconsin,
Wyoming, a foreign
country, American
Samoa, Puerto Rico,
Guam, the
Commonwealth of the
Northern Mariana
Islands, the U.S. Virgin
islands, or A.P.O. or
F.P.O. address

 

Specific Instructions

Line tb. Enter your employer identification number
(EIN) if you are requesting a copy of a business
return. Otherwise, enter the first social security
number (SSN) or your individual taxpayer
identification number (ITN) shown on the return. For
example, if you are requesting Form 1040 that
includes Schedule C (Form 1040), enter your SSN.

Line 3. Enter your current address. If you use a P.O.
box, please include it on this line 3.

Line 4. Enter the address shown on the last return
filed if different from the address entered on line 3.

Note: If the addresses on lines 3 and 4 are different
and you have not changed your address with the
IRS, file Form 8822, Change of Address. For a
business address, file Form 8822-B, Change of
Address or Responsible Party — Business.

Signature and date. Form 4506 must be signed and
dated by the taxpayer listed on line 1a or 2a. The
IRS must receive Form 4506 within 120 days of the
date signed by the taxpayer or it will be rejected.
Ensure that all applicable lines are completed before

signing.
y1% signature area to acknowledge you
have the authority to sign and request
AZM the information. The form will not be
processed and returned to you if the box is
unchecked.

Individuals, Copies of jointly filed tax returns may
be furnished to either spouse. Only one signature is
required. Sign Form 4506 exactly as your name
appeared on the original return. if you changed your
name, also sign your current name.

You must check the box in the

Page 2

Corporations. Generally, Form 4506 can be
signed by: (1) an officer having legal authority to bind
the corporation, (2) any person designated by the
board of directors or other governing body, or (3)
any officer or employee on written request by any
principal officer and attested to by the secretary or
other officer. A bona fide shareholder of record
owning 1 percent or more of the outstanding stock
of the corporation may submit a Form 4506 but must
provide documentation to support the requester's
right to receive the information.

Partnerships. Generally, Form 4506 can be
signed by any person who was a member of the
partnership during any part of the tax period
requested on line 7.

All others. See section 6103(e) if the taxpayer has
died, is insolvent, is a dissolved corporation, or if a
trustee, guardian, executor, receiver, or
administrator is acting for the taxpayer.

Note: If you are Heir at law, Next of kin, or
Beneficiary you must be able to establish a material
interest in the estate or trust.

Documentation. For entities other than individuals,
you must attach the authorization document, For
example, this could be the letter frorn the principal
officer authorizing an ermployee of the corporation or
the letters testamentary authorizing an individual to
act for an estate.

Signature by a representative. A representative
can sign Form 4506 for a taxpayer only if this
authority has been specifically delegated to the
representative on Form 2848, line Sa. Form 2848
showing the delegation must be attached to Form
4506.

 

Privacy Act and Paperwork Reduction Act
Notice. We ask for the information on this form to
establish your right to gain access to the requested
return(s) under the Internal Revenue Code. We need
this information to properly identify the return(s) and
respond to your request. If you request a copy of a
tax return, sections 6103 and 6109 require you to
provide this information, including your SSN or EIN,
to process your request. If you do not provide this
information, we may not be able to process your
request. Providing false or fraudulent information
may subject you to penalties.

Routine uses of this information include giving it to
the Department of Justice for civil and criminal
litigation, and cities, states, the District of Columbia,
and U.S. commonwealths and possessions for use
in administering their tax laws, We may also
disclose this information to other countries under a
tax treaty, to federal and state agencies to enforce
federal nontax criminal laws, or to federal law

, enforcement and intelligence agencies to combat

terrorism.

You are not required to provide the information
requested on a form that is subject to the Paperwork
Reduction Act unless the form displays a valid OMB
control number. Books or records relating to a form
or its instructions must be retained as long as their
contents may become material in the administration
of any Internal Revenue law. Generally, tax returns
and return information are confidential, as required
by section 6103.

The time needed to complete and file Form 4506
will vary depending on individual circumstances. The
estimated average time is: Learning about the law
or the form, 10 min.; Preparing the form, 16 min.;
and Copying, assembling, and sending the form
to the IRS, 20 min.

If you have comments concerning the accuracy of
these time estimates or suggestions for making
Form 4506 simpler, we would be happy to hear from
you. You can write to:

Internal Revenue Service

Tax Forms and Publications Division
1111 Constitution Ave. NW, IR-6526
Washington, DC 20224,

Do not send the form to this address. Instead, see
Where to file on this page.
